              Case: 1:19-cv-07555 Document #: 8 Filed: 11/20/19 Page 1 of 11 PageID #:52
                                       Schedule A

Doe   URL                                                         Store/Domain Name             Merchant ID
1     http://myworld.ebay.com/13151617/                           13151617                      13151617
2     http://myworld.ebay.com/18bestpurchase                      18bestpurchase                18bestpurchase
3     https://www.wish.com/merchant/1u1u                          1u1u                          58de5f0af7f46352e39f0c37
4     http://myworld.ebay.com/2011rebeccalin                      2011rebeccalin                2011rebeccalin
5     http://myworld.ebay.com/2018.good_dress                     2018.good_dress               2018.good_dress
6     http://myworld.ebay.com/2018.princess.dress                 2018.princess.dress           2018.princess.dress
7     http://myworld.ebay.com/2018.wdress/                        2018.wdress                   2018.wdress
8     http://myworld.ebay.com/2019.hot.dress                      2019.hot.dress                2019.hot.dress
9     https://www.amazon.com/s/ref=sr_il_ti_merchant-             A2MVFWIFJGNFXR
      items?lo=merchant-items&merchant=A2MVFWIFJGNFXR                                           20KyleBird
10    http://myworld.ebay.com/2cn7827/                            2cn7827                       2cn7827
11    http://myworld.ebay.com/4355033/                            4355033                       4355033
12    http://www.777china.com/                                    777china.com                  N/A
13    http://www.7kleid.de/                                       7kleid.de                     N/A
14    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A3ESGPWOL3UZ6Q
      items?lo=merchant-items&merchant=A3ESGPWOL3UZ6Q                                           APXPF
15    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A2V2BL6SSQOBO9
      items?lo=merchant-items&merchant=A2V2BL6SSQOBO9                                           ASBridal
16    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A39XVP6TNSN3AS
      items?lo=merchant-items&merchant=A39XVP6TNSN3AS                                           AbaoWedding
17    https://www.wish.com/merchant/ailisengroupcoltd             Ailisen Group Co,Ltd          55bb599049486a41bde8dbec
18    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A2IUQAWDD5A34U
      items?lo=merchant-items&merchant=A2IUQAWDD5A34U                                           Ainisha
19    http://www.amazon.com/s/ref=sr_il_ti_merchant-              AAQ3WI6USBPX4
      items?lo=merchant-items&merchant=AAQ3WI6USBPX4                                            Aishanglina
20    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A2FXKSPJP1T52C
      items?lo=merchant-items&merchant=A2FXKSPJP1T52C                                           Allenqueen
21    https://www.wish.com/merchant/qinleifuzhuangyouxiangongsi   Allure's Bridal               55d3d79b47890710501918b5
22    https://www.luulla.com/store/amanda                         Amanda store                  Amanda store
23    https://www.luulla.com/store/angeldress                     Angeldress                    Angeldress
24    https://wanelo.co/store/anglemodel                          Anglemodel                    Anglemodel
25    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A19YOP5N3CW0PK
      items?lo=merchant-items&merchant=A19YOP5N3CW0PK                                           AnnaApparel
26    https://www.amazon.com/s/ref=sr_il_ti_merchant-             A1ET175CYAKU1J
      items?lo=merchant-items&merchant=A1ET175CYAKU1J                                           AnnaBride
27    https://www.bonanza.com/booths/AnnaCustomDress              AnnaCustomDress' booth        AnnaCustomDress' booth
28    http://www.amazon.com/s/ref=sr_il_ti_merchant-              AD3CDZ4Y45RNT
      items?lo=merchant-items&merchant=AD3CDZ4Y45RNT                                            Aries Tuttle
29    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A1383Q8JJA1MZH
      items?lo=merchant-items&merchant=A1383Q8JJA1MZH                                           Asa bridal
30    https://www.wish.com/merchant/tanhaohongaliyuncom           Asian LingZhi                 5bd13a30d15f61220dcc6f67
31    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A114HM9E23XHQ2
      items?lo=merchant-items&merchant=A114HM9E23XHQ2                                           Asoiree
32    https://www.wish.com/merchant/athena131                     Athena131                     58b7b499c0fa3f5913932bfd
33    https://www.amazon.com/s/ref=sr_il_ti_merchant-             AO8VLA2Q3REC5
      items?lo=merchant-items&merchant=AO8VLA2Q3REC5                                            Automan
34    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A3R53F4TG6AM8A
      items?lo=merchant-items&merchant=A3R53F4TG6AM8A                                           BEJG
35    https://storenvy.com/stores/840030-bonbete-bridal           BONBETE BRIDAL                BONBETE BRIDAL
36    https://www.wish.com/merchant/林夏网络                          Baby-star                     567b6f7a7071ec40f1c550d7
37    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A1Y1E4KO23YOY3
      items?lo=merchant-items&merchant=A1Y1E4KO23YOY3                                           Babygirls
38    https://www.luulla.com/store/Balladresses                   Balladresses                  Balladresses
39    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A3QSFTIV7WCY2B
      items?lo=merchant-items&merchant=A3QSFTIV7WCY2B                                           Beautbride
40    https://storenvy.com/stores/1159782-beauty-angel2176        Beauty Angel2176              Beauty Angel2176
41    https://storenvy.com/stores/1081637-beautypromdress         BeautyPromDress               BeautyPromDress
42    https://www.wish.com/merchant/beauty_mall                   Beauty_Mall                   5546dbfa0b73341e5b555dd2
43    https://www.wish.com/merchant/beijingxiuhuaartcoltd         Beijing Xiuhua Art Co., Ltd   56695380e363a330e034cecc
44    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A3TJW0D2B85ALX
      items?lo=merchant-items&merchant=A3TJW0D2B85ALX                                           Beilite
45    https://www.wish.com/merchant/bellehumeur                   Belle humeur                  58e8e8a822495c164f3ca831
46    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A34ZDE8FLXSKN4
      items?lo=merchant-items&merchant=A34ZDE8FLXSKN4                                           BessDress
47    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A1P6HXRYMADBBX
      items?lo=merchant-items&merchant=A1P6HXRYMADBBX                                           BessWedding
48    https://www.wish.com/merchant/beverly_                      Beverly_                      599551d22afd3511db8606f6
49    https://www.bonanza.com/booths/Blevla_Dress                 Blevla_Dress' booth           Blevla_Dress' booth
50    http://www.amazon.com/s/ref=sr_il_ti_merchant-              AQD0BR0KAVAGG
      items?lo=merchant-items&merchant=AQD0BR0KAVAGG                                            Bonnie_Shop
51    https://www.bonanza.com/booths/Bootsies                     Bootsie's Boutique            Bootsie's Boutique
52    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A3TE2FMJZ92K1F
      items?lo=merchant-items&merchant=A3TE2FMJZ92K1F                                           Bridal Mall
53    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A1CLBOTJEUZOEY
      items?lo=merchant-items&merchant=A1CLBOTJEUZOEY                                           BridalAffair
54    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A2D6B9MY30FDG8
      items?lo=merchant-items&merchant=A2D6B9MY30FDG8                                           Butalwaysbridal
55    https://www.wish.com/merchant/chanshi                       CHanshi                       584a8dd7d1eb674ca26f8efd
56    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A3MZXT9549OG5M
      items?lo=merchant-items&merchant=A3MZXT9549OG5M                                           Cai Huieen
57    https://www.wish.com/merchant/caracrystal                   CaraCrystal                   58c21b4e614e2b51079c9cc3
58    https://www.wish.com/merchant/carleyfashionstore            Carley Fashion Store          5abc7fd22c495627abc56a46
59    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A23LK93E3BY5LT
      items?lo=merchant-items&merchant=A23LK93E3BY5LT                                           Chady J Issa
60    http://www.amazon.com/s/ref=sr_il_ti_merchant-              A1O8OX7SUH72F7
      items?lo=merchant-items&merchant=A1O8OX7SUH72F7                                           Changjie
              Case: 1:19-cv-07555 Document #: 8 Filed: 11/20/19 Page 2 of 11 PageID #:53


61    https://www.luulla.com/store/style                              Charm Evening Girl5                               Charm Evening Girl5
62    https://www.luulla.com/store/sexydress                          Charming prom dress23                             Charming prom dress23
63    https://www.wish.com/merchant/chinashoponline                   Chinashoponline                                   56906e163ca41e26ffa375b9
64    https://www.amazon.com/s/ref=sr_il_ti_merchant-                 A2BKO3EOX8BTSR
      items?lo=merchant-items&merchant=A2BKO3EOX8BTSR                                                                   Chumuse
65    https://www.amazon.com/s?me=AZSJS6FCYFPNH                       AZSJS6FCYFPNH                                     Clothfun
66    https://www.bonanza.com/booths/Clothingstore                    Clothingstore's booth                             Clothingstore's booth
67    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  AKXA30XWXHSB4
      items?lo=merchant-items&merchant=AKXA30XWXHSB4                                                                    Cloverdresses
68    https://www.wish.com/merchant/creativestudiodress               Creative studio dress                             59257016131a794074aad44c
69    https://www.amazon.com/s/ref=sr_il_ti_merchant-                 AJQWB9841L8PR
      items?lo=merchant-items&merchant=AJQWB9841L8PR                                                                    D9TC
70    http://www.amazon.com/s?me=AKZAZ8O1R9GGN                        AKZAZ8O1R9GGN                                     DFGVKJS
71    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A3N094KRGLHLQY
      items?lo=merchant-items&merchant=A3N094KRGLHLQY                                                                   DINGZAN
72    https://www.wish.com/merchant/dah                               DaH                                               59e432728cf0ed267a9a39a9
73    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A25P09T6520EO0
      items?lo=merchant-items&merchant=A25P09T6520EO0                                                                   Dai yi
74    https://www.wish.com/merchant/davidfashionwomensfranchisestor
      es                                                              David fashion women's franchise stores            58627f568d3b114cb0847c9a
75    https://www.luulla.com/store/designdresses                      Design dresses                                    Design dresses
76    https://www.luulla.com/store/DestinyDress                       DestinyDress                                      DestinyDress
77    https://www.bonanza.com/booths/DiVASHACK                        DiVASHACKMossMonkeyjochem61boncyberwearRed_neck   DiVASHACKMossMonkeyjochem61boncyberwearRed_neck
78    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A1PUGYT43CG9JT
      items?lo=merchant-items&merchant=A1PUGYT43CG9JT                                                                   Diandiai
79    https://www.wish.com/merchant/doggio                            Doggio                                            59c08e538ee78d33133bae58
80    https://www.wish.com/merchant/donglingshop                      DongLingShop                                      5b8b6f3d9996c877ff9c08db
81    https://storenvy.com/stores/716742-dreamdresses                 DreamDresses                                      DreamDresses
82    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A2BGOEOJ3ZS0TW
      items?lo=merchant-items&merchant=A2BGOEOJ3ZS0TW                                                                   Dress Mall
83    https://www.wish.com/merchant/dresscompany                      Dress company                                     553369f00b733417485c1c68
84    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  AVGZI5L7FQBKU
      items?lo=merchant-items&merchant=AVGZI5L7FQBKU                                                                    Dresspic
85    https://www.luulla.com/store/DressyBridal                       DressyBridal                                      DressyBridal
86    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A27IMI6FWUM0T3
      items?lo=merchant-items&merchant=A27IMI6FWUM0T3                                                                   DressyMe Store
87    https://www.wish.com/merchant/edressup                          E DRESS UP                                        578de0c4661e330ed8f34552
88    http://www.amazon.com/s?me=A2CYWQFTGZYQBV                       A2CYWQFTGZYQBV                                    EDressy
89    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A2T2HF68DAFI41
      items?lo=merchant-items&merchant=A2T2HF68DAFI41                                                                   Eileen56rDol
90    https://www.wish.com/merchant/elinfashionjewelry                Elin Fashion Jewelry                              56d3b66b8bd26e1d69dd549b
91    https://www.bonanza.com/booths/ElinaDress                       ElinaDress                                        ElinaDress
92    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A293WJRX3L98D1
      items?lo=merchant-items&merchant=A293WJRX3L98D1                                                                   EllieHouse
93    http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A2P1E94VH73LMB
      items?lo=merchant-items&merchant=A2P1E94VH73LMB                                                                   EnjoyBuys
94    https://www.wish.com/merchant/ericladydress                     Eric Lady Dress                                   56d05fb016d9e1161d4cb09f
95    https://www.bonanza.com/booths/Eternally_Yours                  Eternally Yours Bridal                            Eternally Yours Bridal
96    https://www.luulla.com/store/lacem                              Evening dress                                     Evening dress
97    https://www.wish.com/merchant/exquisitedress                    Exquisite Dress                                   574c339f0572de5cd791214c
98    https://wanelo.co/store/smartshanghai                           FIT LEMON                                         FIT LEMON
99    https://www.amazon.com/s/ref=sr_il_ti_merchant-                 A2FE05MFYY265L
      items?lo=merchant-items&merchant=A2FE05MFYY265L                                                                   FJBDASF
100   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  ANHXRZTT5C44D
      items?lo=merchant-items&merchant=ANHXRZTT5C44D                                                                    FJMM
101   https://www.amazon.com/s/ref=sr_il_ti_merchant-                 A1VPLUFPCDTOAP
      items?lo=merchant-items&merchant=A1VPLUFPCDTOAP                                                                   FLFLBridal
102   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A1UPNEME4OHLA4
      items?lo=merchant-items&merchant=A1UPNEME4OHLA4                                                                   Fair Lady wedding dress
103   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A3UP8BH3G61SUB
      items?lo=merchant-items&merchant=A3UP8BH3G61SUB                                                                   Fannydress
104   https://storenvy.com/stores/1160451-fantasy-club528             Fantasy Club528                                   Fantasy Club528
105   https://www.wish.com/merchant/fashionbeautydresssstore          Fashion Beauty Dress's Store                      57fa0467cf8ad4194c7bb0f4
106   https://www.wish.com/merchant/fashionmakeupshow                 Fashion Makeup Show                               57d570a4241d454a37169e99
107   https://www.wish.com/merchant/fashionsource                     Fashion Source ACC                                5347e38fb9ee84643a7d8768
108   https://www.wish.com/merchant/fashionstylestore2018             FashionStyleStore2018                             5a981f7315511a31f7d11cd2
109   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A3PA2WWH3LBH38
      items?lo=merchant-items&merchant=A3PA2WWH3LBH38                                                                   Fashionfoxgirl
110   https://www.amazon.com/s?me=A1HDO8GAK4JRTV                      A1HDO8GAK4JRTV                                    FeiFeiLady
111   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A1G9SZ4LGDNLEN
      items?lo=merchant-items&merchant=A1G9SZ4LGDNLEN                                                                   Felala Wedding
112   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A2J4P0CLYA1S2B
      items?lo=merchant-items&merchant=A2J4P0CLYA1S2B                                                                   Feng Teng
113   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A396MTAONIOSGV
      items?lo=merchant-items&merchant=A396MTAONIOSGV                                                                   Fensajomon
114   https://www.wish.com/merchant/figoo                             Figoo                                             572031ae8ec7136a6d152c23
115   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A1JOLDC52A2XQ9
      items?lo=merchant-items&merchant=A1JOLDC52A2XQ9                                                                   Fitty Lell
116   https://www.luulla.com/store/FlyinDance                         FlyinDance                                        FlyinDance
117   https://www.luulla.com/store/fuchsiabridal                      Fuchsia Bridal                                    Fuchsia Bridal
118   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A3DFJB6RWLUWY7
      items?lo=merchant-items&merchant=A3DFJB6RWLUWY7                                                                   GAZIS
119   https://www.wish.com/merchant/glu                               GLU                                               56e63fc621790d585423ab65
120   https://www.wish.com/merchant/gofashionstore                    GO Fashion Store                                  595c51da7fe241754c8adb52
121   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A3PJGBA8OOA90F
      items?lo=merchant-items&merchant=A3PJGBA8OOA90F                                                                   GoTidy
122   https://www.wish.com/merchant/goodonly                          Good only                                         5ae41d5528a2b304a5fb3df6
             Case: 1:19-cv-07555 Document #: 8 Filed: 11/20/19 Page 3 of 11 PageID #:54


123   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A1BSE27RNQQI6T
      items?lo=merchant-items&merchant=A1BSE27RNQQI6T                     GuGio
124   https://www.wish.com/merchant/hrtshopping         HRT shopping      590d37e24b5a4721d4d479d5
125   https://www.amazon.com/s/ref=sr_il_ti_merchant-   A2UVMHIEK490DO
      items?lo=merchant-items&merchant=A2UVMHIEK490DO                     HSDJ Apparel
126   https://www.wish.com/merchant/htswedding          HTS Wedding       57fccbba196a793f002bad5a
127   https://www.wish.com/merchant/hwq                 HWQ               593e6018e4154f7b1bb723ad
128   https://storenvy.com/stores/986134-happybridal    Happybridal       Happybridal
129   https://www.amazon.com/s/ref=sr_il_ti_merchant-   A3MPGI0KVHSJ9E
      items?lo=merchant-items&merchant=A3MPGI0KVHSJ9E                     Happymoon
130   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A276BFMA7UT71B
      items?lo=merchant-items&merchant=A276BFMA7UT71B                     Hearlover
131   https://www.amazon.com/s/ref=sr_il_ti_merchant-   AVYWMNFJZ3RX0
      items?lo=merchant-items&merchant=AVYWMNFJZ3RX0                      HerDress
132   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A3PNW9OM4W7C7J
      items?lo=merchant-items&merchant=A3PNW9OM4W7C7J                     HittyGirlBridal
133   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A1XEGB5STEOKOB
      items?lo=merchant-items&merchant=A1XEGB5STEOKOB                     Homecy
134   https://www.luulla.com/store/Honey-dress          Honey-dress       Honey-dress
135   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A3IWJJEJ48FTQ5
      items?lo=merchant-items&merchant=A3IWJJEJ48FTQ5                     Honeyveil
136   https://www.amazon.com/s/ref=sr_il_ti_merchant-   A1BMMFPL8NTFK8
      items?lo=merchant-items&merchant=A1BMMFPL8NTFK8                     Hopedawn
137   https://www.luulla.com/store/HotPromdresses       Hot Promdresses   Hot Promdresses
138   https://www.luulla.com/store/hotlady              Hotlady           Hotlady
139   https://wanelo.co/store/icstuff.com               IC Stuff          IC Stuff
140   http://www.amazon.com/s/ref=sr_il_ti_merchant-    ANXTFYREEOZPZ
      items?lo=merchant-items&merchant=ANXTFYREEOZPZ                      Icy Sun
141   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A2TOGJ3QZ8YZMY
      items?lo=merchant-items&merchant=A2TOGJ3QZ8YZMY                     Ikerenwedding
142   https://www.wish.com/merchant/infashion2018       InFashion2018     5aab7949a6f62e2394d7a0d2
143   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A1V9IHTHFHRO62
      items?lo=merchant-items&merchant=A1V9IHTHFHRO62                     JINXUANYAÂ®
144   https://www.wish.com/merchant/jianrui3king        JIanrui3King      58018abf746f2b19bb585266
145   http://www.amazon.com/s/ref=sr_il_ti_merchant-    AV0PSRXK2WTPS
      items?lo=merchant-items&merchant=AV0PSRXK2WTPS                      Janmin
146   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A2CECN5F38R1G
      items?lo=merchant-items&merchant=A2CECN5F38R1G                      Jasminebridal
147   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A1WUX7EZ4X1NB9
      items?lo=merchant-items&merchant=A1WUX7EZ4X1NB9                     Jdress
148   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A2ILLF4W631975
      items?lo=merchant-items&merchant=A2ILLF4W631975                     Jerald Norton Ltd
149   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A69AVDHE2JOXZ
      items?lo=merchant-items&merchant=A69AVDHE2JOXZ                      JiangDan
150   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A1VQCYK9PFRY3Y
      items?lo=merchant-items&merchant=A1VQCYK9PFRY3Y                     JoyVany
151   http://www.amazon.com/s/ref=sr_il_ti_merchant-    ARZXM2YD6J4PB
      items?lo=merchant-items&merchant=ARZXM2YD6J4PB                      KISSBRIDAL
152   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A30EDDJ6O43384
      items?lo=merchant-items&merchant=A30EDDJ6O43384                     Kaitaijidian
153   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A3EVPS0UWXCU8Q
      items?lo=merchant-items&merchant=A3EVPS0UWXCU8Q                     Kay&Layla
154   https://www.wish.com/merchant/liftvre             LIFtVRE           5a161f067b584e5d56619434
155   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A34LVPU5FGR1K1
      items?lo=merchant-items&merchant=A34LVPU5FGR1K1                     LL Bridal
156   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A38LA4MFQB3J64
      items?lo=merchant-items&merchant=A38LA4MFQB3J64                     LOVING HOUSE
157   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A37GCUVC2YJ8EK
      items?lo=merchant-items&merchant=A37GCUVC2YJ8EK                     LUBridal
158   https://www.wish.com/merchant/ladiesbeauty        Ladiesbeauty      5742e0363a698c4ddfa55d2a
159   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A15F28MEGLW42M
      items?lo=merchant-items&merchant=A15F28MEGLW42M                     LastBridal
160   http://www.amazon.com/s/ref=sr_il_ti_merchant-    AYQHSFULPJ94K
      items?lo=merchant-items&merchant=AYQHSFULPJ94K                      Lava-ring Dresses
161   https://storenvy.com/stores/1254243-lavidress     LaviDress         LaviDress
162   https://www.amazon.com/s/ref=sr_il_ti_merchant-   A2QWT7AOX6NHPO
      items?lo=merchant-items&merchant=A2QWT7AOX6NHPO                     Lazacos
163   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A1CXE6IIZOTO0G
      items?lo=merchant-items&merchant=A1CXE6IIZOTO0G                     Lejiayi
164   https://www.bonanza.com/booths/Eva_Ding           LetitbeBridal     LetitbeBridal
165   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A22QSNS60ARVCC
      items?lo=merchant-items&merchant=A22QSNS60ARVCC                     Lisadress
166   https://www.wish.com/merchant/liubang             LiuBang           58d8bd30367e760ec9b9a09e
167   https://www.amazon.com/s/ref=sr_il_ti_merchant-   A1PYRHTE00MJDU
      items?lo=merchant-items&merchant=A1PYRHTE00MJDU                     Liyuke Wedding Country
168   https://storenvy.com/stores/1019603-lovefashion   Lovefashion       Lovefashion
169   https://www.luulla.com/store/lovefahsion          Lovefashion01     Lovefashion01
170   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A8CB4E8YLLUE2
      items?lo=merchant-items&merchant=A8CB4E8YLLUE2                      LovelyBridal
171   https://www.amazon.com/s/ref=sr_il_ti_merchant-   A3P879R1DWH75D
      items?lo=merchant-items&merchant=A3P879R1DWH75D                     LovelyGirls
172   https://www.luulla.com/store/Lovelybride          Lovelybride       Lovelybride
173   http://www.amazon.com/s/ref=sr_il_ti_merchant-    A19F2CK2T1G92M
      items?lo=merchant-items&merchant=A19F2CK2T1G92M                     Lover in Paris
174   https://storenvy.com/stores/199357-loverdresses   LoverDresses      LoverDresses
175   https://www.luulla.com/store/Newprom              Luckygirl         Luckygirl
176   https://www.luulla.com/store/lucyweddings         Lucyweddings      Lucyweddings
177   https://www.wish.com/merchant/luoyumail           LuoYu mail        57ad7865d4480818f3ab324d
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178   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A380GBBC6MZANW
      items?lo=merchant-items&merchant=A380GBBC6MZANW                                        M.Brock
179   https://www.wish.com/merchant/mcdaid                      MCDAID                       59df11f50ec30f5cb86bd2c7
180   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A1998ANN0QRXWG
      items?lo=merchant-items&merchant=A1998ANN0QRXWG                                        MEEYA
181   https://www.wish.com/merchant/mpesther                    MP-Esther                    58537555e3bfb14d5617b9ff
182   https://www.luulla.com/store/MaggieDress                  MaggieDress                  MaggieDress
183   https://www.luulla.com/store/marrylove                    MarryLove                    MarryLove
184   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A219UG8AU0AT9R
      items?lo=merchant-items&merchant=A219UG8AU0AT9R                                        Marsen Formal Dress
185   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A2IB5P599KU0K
      items?lo=merchant-items&merchant=A2IB5P599KU0K                                         Meaningful
186   https://www.luulla.com/store/MeetBeauty                   MeetBeauty                   MeetBeauty
187   https://www.luulla.com/store/Melisadress                  Melisadress                  Melisadress
188   https://www.luulla.com/store/merryaimfashionshop          Merryaim Fashion Shop        Merryaim Fashion Shop
189   https://wanelo.co/store/missesdressy                      Misses Dressy                Misses Dressy
190   https://www.luulla.com/store/newfortune                   NEW FORTUNE                  NEW FORTUNE
191   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A124L8E787RZXP
      items?lo=merchant-items&merchant=A124L8E787RZXP                                        NaXY
192   http://www.amazon.com/s/ref=sr_il_ti_merchant-            ACZDZAA3UU1JU
      items?lo=merchant-items&merchant=ACZDZAA3UU1JU                                         NewFex
193   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A16RU50Q68C04F
      items?lo=merchant-items&merchant=A16RU50Q68C04F                                        Nice-fashion
194   https://wanelo.co/store/offwhitebride                     OffWhite                     OffWhite
195   https://storenvy.com/stores/97276-okbridal                OkBridal                     OkBridal
196   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A1ZWRNKVE9KPR0
      items?lo=merchant-items&merchant=A1ZWRNKVE9KPR0                                        Oufeisha
197   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A3S9UQQFB5JKN6
      items?lo=merchant-items&merchant=A3S9UQQFB5JKN6                                        OutdoorClub
198   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A2RHJT6PUAZJT3
      items?lo=merchant-items&merchant=A2RHJT6PUAZJT3                                        Oyisha
199   https://www.wish.com/merchant/phsoar                      PHSOAR                       57e88a9a35f985294f1ab8ff
200   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A4G7UWOS3YYH0
      items?lo=merchant-items&merchant=A4G7UWOS3YYH0                                         Pandaie
201   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A3OTSJG9XPQIL9
      items?lo=merchant-items&merchant=A3OTSJG9XPQIL9                                        Pandorawedding
202   http://www.amazon.com/s/ref=sr_il_ti_merchant-            AZXGDE75EMA9I
      items?lo=merchant-items&merchant=AZXGDE75EMA9I                                         Peprom
203   https://www.luulla.com/store/PerfectDress                 Perfect Dresses              Perfect Dresses
204   https://storenvy.com/stores/1092483-prettyprom            Prettyprom                   Prettyprom
205   https://www.luulla.com/store/prettypromdress              Prettypromdress              Prettypromdress
206   https://storenvy.com/stores/1116717-prettypromdress1234   Prettypromdress1234          Prettypromdress1234
207   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A1D0MG9QBMKAQ4
      items?lo=merchant-items&merchant=A1D0MG9QBMKAQ4                                        Pretygirl
208   https://www.luulla.com/store/Promqueen                    Prom Queen                   Prom Queen
209   https://www.amazon.com/s/ref=sr_il_ti_merchant-           A1XJEPRXWCWVGZ
      items?lo=merchant-items&merchant=A1XJEPRXWCWVGZ                                        PromC
210   https://wanelo.co/store/promdressshoppromdressshop        PromDressShopPromdressshop   PromDressShopPromdressshop
211   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A1VRLLUIFTQ7A0
      items?lo=merchant-items&merchant=A1VRLLUIFTQ7A0                                        Promworld
212   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A3NEK6SCJ6QGA2
      items?lo=merchant-items&merchant=A3NEK6SCJ6QGA2                                        QiJunGe
213   https://www.luulla.com/store/queenparty                   Queen Party                  Queen Party
214   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A2L51IBB9JXRHJ
      items?lo=merchant-items&merchant=A2L51IBB9JXRHJ                                        RJOAM
215   https://www.wish.com/merchant/ruyalscenery                RUYAL SCENERY                57fb6c77271469193f0c9df0
216   https://www.luulla.com/store/rainbowcar                   Rainbowcar                   Rainbowcar
217   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A2CWMTQWE16GAV
      items?lo=merchant-items&merchant=A2CWMTQWE16GAV                                        Rieshaneeawedding
218   https://www.wish.com/merchant/riverrun                    River Run                    5910313f65c313205f9cc4c5
219   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A352W4OP1MLQZK
      items?lo=merchant-items&merchant=A352W4OP1MLQZK                                        Rmaytiked
220   https://www.wish.com/merchant/romanticmall                Romanticmall                 57bffc61642e417ff2d11913
221   https://www.luulla.com/store/RosyProm                     RosyProm                     RosyProm
222   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A3D0YPJK5MF8DI
      items?lo=merchant-items&merchant=A3D0YPJK5MF8DI                                        Ruan jie
223   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A30UE28UKKPO7B
      items?lo=merchant-items&merchant=A30UE28UKKPO7B                                        Rudina Wedding Dress
224   https://www.amazon.com/s/ref=sr_il_ti_merchant-           AO21V2B66DTAR
      items?lo=merchant-items&merchant=AO21V2B66DTAR                                         Ryanth Bridal
225   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A1DUC52FDFLYP9
      items?lo=merchant-items&merchant=A1DUC52FDFLYP9                                        SHIQIN ZHENG
226   https://storenvy.com/stores/841833-simi-bridal            SIMI Bridal                  SIMI Bridal
227   https://www.wish.com/merchant/skpotti                     SK|<potti>                   5930d67a20e1bf2bb977ee2a
228   https://www.wish.com/merchant/stcdijiu                    STcdijiu                     5ac19ffb9bda4e70ce179d7e
229   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A1OC3D18O1737R
      items?lo=merchant-items&merchant=A1OC3D18O1737R                                        Scarisee
230   http://www.amazon.com/s?me=A31YTTLZU3SWR                  A31YTTLZU3SWR                Sese88
231   https://www.wish.com/merchant/sexymystery                 Sexy Mystery                 57da966288af8246b95e595a
232   https://storenvy.com/stores/1151466-sexypromdress         SexyPromDress                SexyPromDress
233   https://www.luulla.com/store/sexypromgirl                 Sexypromgirl8                Sexypromgirl8
234   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A3N6D6RKGNJ48O
      items?lo=merchant-items&merchant=A3N6D6RKGNJ48O                                        Shanghai Ruijia Dress Ltd.
235   https://www.wish.com/merchant/sheller                     Sheller                      595264d42eac116a717bf83e
236   https://storenvy.com/stores/1117566-show-by-style         Show By Style                Show By Style
237   https://storenvy.com/stores/1118013-show-fashion          Show Fashion                 Show Fashion
238   https://www.wish.com/merchant/snowballl                   Snowballl                    5838043661b4011b6db3495b
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239   https://storenvy.com/stores/1173795-sofiedress                     SofieDress                                 SofieDress
240   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A1UEPK12R1G63A
      items?lo=merchant-items&merchant=A1UEPK12R1G63A                                                               Sophie Kate
241   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A3MZZKNQBD25OD
      items?lo=merchant-items&merchant=A3MZZKNQBD25OD                                                               Special Bridal Wedding
242   https://www.wish.com/merchant/macaccessoriesstore                  SpringFling                                514ac2ef4f633a2fdcdda5e5
243   https://wanelo.co/store/stella                                     Stella                                     Stella
244   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A2JH7C52UO7XLC
      items?lo=merchant-items&merchant=A2JH7C52UO7XLC                                                               Su Zhou Yi Sha Er Apparel Co., Ltd
245   https://www.luulla.com/store/sunnytian2018                         Sunny Tian                                 Sunny Tian
246   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A1YWP9JZB4Z24J
      items?lo=merchant-items&merchant=A1YWP9JZB4Z24J                                                               Suwiforest
247   http://www.wish.com/merchant/suzhouchampionweddingdress            Suzhou Champion Wedding Dress              570c6cc0bc723c5908492d6d
248   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A27JM2W7X2NOE1
      items?lo=merchant-items&merchant=A27JM2W7X2NOE1                                                               Suzhou Su Li di Garment Co. Ltd.
249   https://www.wish.com/merchant/suzhouheyueairenbridaldresscolt
      d                                                                  Suzhou heyueairen Bridal Dress Co.,Ltd     5631ca8c8f33e00fd5e478e9
250   https://www.wish.com/merchant/suzhoujoyweddingfactory              Suzhou joywedding factory                  5413262ff8abc81395f488b3
251   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A2RJ0KV2I17WEE
      items?lo=merchant-items&merchant=A2RJ0KV2I17WEE                                                               Sweetdresses
252   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A2LZP5FJIJP8J
      items?lo=merchant-items&merchant=A2LZP5FJIJP8J                                                                TTdamai
253   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A1VFK1WMHQLVF
      items?lo=merchant-items&merchant=A1VFK1WMHQLVF                                                                Taueryu
254   https://wanelo.co/store/thechicfind                                The Chic Find                              The Chic Find
255   https://www.wish.com/merchant/thebay                               Thebay                                     57b57ad43e72034b61ca8afc
256   https://www.wish.com/merchant/tobebridalweddingpartyfactory        ToBeBridal Wedding&Party Dresses Factory   53bbb08f46188e78026e917f
257   https://www.luulla.com/store/topdress                              Topdress                                   Topdress
258   https://www.luulla.com/store/topdresses                            Topdresses                                 Topdresses
259   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     ARUK3QG8QX56X
      items?lo=merchant-items&merchant=ARUK3QG8QX56X                                                                UMREN
260   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A1031DBVZVGK58
      items?lo=merchant-items&merchant=A1031DBVZVGK58                                                               Ubridal
261   https://www.luulla.com/store/Ulass                                 Ulass                                      Ulass
262   https://www.wish.com/merchant/unionstockcompanylimited             Union stock company limited                55614a81e39ed30ea51d38fc
263   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A1Y385Z2PYPAJF
      items?lo=merchant-items&merchant=A1Y385Z2PYPAJF                                                               Unions
264   http://www.amazon.com/s?me=AKMHQN7BHX1JZ                           AKMHQN7BHX1JZ                              Utamall
265   https://www.wish.com/merchant/vluckyinternational                  V Lucky international                      561215bab307de2232a6dd82
266   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A1VAQPYIUCHG8F
      items?lo=merchant-items&merchant=A1VAQPYIUCHG8F                                                               VDGTERW
267   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A3F8AF14KTQNZQ
      items?lo=merchant-items&merchant=A3F8AF14KTQNZQ                                                               VWEIL
268   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A1IFZ3W25SJ495
      items?lo=merchant-items&merchant=A1IFZ3W25SJ495                                                               Veloadress
269   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A17LSDGBG0S5IU
      items?lo=merchant-items&merchant=A17LSDGBG0S5IU                                                               Vickyben
270   https://www.wish.com/merchant/vikoros                              Vikoros                                    56b44d363a698c411726623c
271   https://www.wish.com/merchant/vivivan                              Vivivan                                    57833b543a698c055f4c07ca
272   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     AHL022Y45DZDH
      items?lo=merchant-items&merchant=AHL022Y45DZDH                                                                WANNISHA
273   https://www.wish.com/merchant/wirelessbuy                          WIRELESS BUY                               591d867f980a347b4ce33691
274   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A1J78JY9C4CUYT
      items?lo=merchant-items&merchant=A1J78JY9C4CUYT                                                               WanFuBridal
275   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     AZJS1PGBXN0YK
      items?lo=merchant-items&merchant=AZJS1PGBXN0YK                                                                Wang hailong
276   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A3KSJXVDHMLKX
      items?lo=merchant-items&merchant=A3KSJXVDHMLKX                                                                Wanshaqin Trading Co. Ltd
277   https://www.wish.com/merchant/joohua                               WeddingStore                               5385f6b234067e142b8ad6aa
278   https://www.wish.com/merchant/weidistore                           WeidiStore                                 59045cb3b4cfee45780874c5
279   https://www.wish.com/merchant/westyles                             Westyles                                   570358153c0216336afb127e
280   https://www.wish.com/merchant/willysstore                          Willy's Store                              550826f404136a46ed453d99
281   https://www.wish.com/merchant/wnoreton                             Wnoreton                                   58de234267ef3b5fb39155cf
282   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A1C2J5GFSE855B
      items?lo=merchant-items&merchant=A1C2J5GFSE855B                                                               XJLY
283   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A1MZHZMNJ5EPPR
      items?lo=merchant-items&merchant=A1MZHZMNJ5EPPR                                                               XinYuBridal
284   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     AB7K3MFREM821
      items?lo=merchant-items&merchant=AB7K3MFREM821                                                                XingMeng
285   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A1KIPGUEBP101K
      items?lo=merchant-items&merchant=A1KIPGUEBP101K                                                               Xize
286   https://www.amazon.de/s/ref=sr_il_ti_merchant-items?lo=merchant-   A2G54075ZL75OH
      items&merchant=A2G54075ZL75OH                                                                                 YASIOU
287   https://www.amazon.com/s/ref=sr_il_ti_merchant-                    A1BQR94QOSOSHK
      items?lo=merchant-items&merchant=A1BQR94QOSOSHK                                                               YGSY
288   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A2QV7PX41IOKKA
      items?lo=merchant-items&merchant=A2QV7PX41IOKKA                                                               YIMANSHA
289   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A1N0Z6NEV42L6P
      items?lo=merchant-items&merchant=A1N0Z6NEV42L6P                                                               YMSHA
290   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A2X5K1LCLZGNUN
      items?lo=merchant-items&merchant=A2X5K1LCLZGNUN                                                               Yang sen
291   http://www.amazon.com/s?me=A3OVBC04JD9OY8                          A3OVBC04JD9OY8                             YangProm
292   https://www.luulla.com/store/yesdresses                            Yesdresses                                 Yesdresses
293   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     AQEDMYBIPQQ0H
      items?lo=merchant-items&merchant=AQEDMYBIPQQ0H                                                                YinWen
294   http://www.amazon.com/s?me=A3I8L1VK27ZGI5                          A3I8L1VK27ZGI5                             Yisha Bello
295   http://www.amazon.com/s/ref=sr_il_ti_merchant-                     A3AVLA4MR21VAE
      items?lo=merchant-items&merchant=A3AVLA4MR21VAE                                                               YorFormals
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296   http://www.amazon.com/s/ref=sr_il_ti_merchant-             A32NLFNZF7QNGB
      items?lo=merchant-items&merchant=A32NLFNZF7QNGB                                      Youto Dress
297   http://www.amazon.com/s/ref=sr_il_ti_merchant-             AN7VYURJ66R6T
      items?lo=merchant-items&merchant=AN7VYURJ66R6T                                       Yslmdry
298   http://www.amazon.com/s/ref=sr_il_ti_merchant-             AUOER908I6HRQ
      items?lo=merchant-items&merchant=AUOER908I6HRQ                                       Ysmo
299   https://www.amazon.com/s/ref=sr_il_ti_merchant-            AC9WVE7LO4RHE
      items?lo=merchant-items&merchant=AC9WVE7LO4RHE                                       Yuki Isabelle
300   https://www.amazon.com/s/ref=sr_il_ti_merchant-            A4MMIBVRKB2IT
      items?lo=merchant-items&merchant=A4MMIBVRKB2IT                                       Yulain
301   http://www.amazon.com/s/ref=sr_il_ti_merchant-             A22BCMLE4AVIA6
      items?lo=merchant-items&merchant=A22BCMLE4AVIA6                                      Yuxin Weding Dress
302   https://www.wish.com/merchant/zl                           Z&L                       546f452b8edcfa120e1f4a6b
303   https://wanelo.co/store/minimalist                         ZealstylE                 ZealstylE
304   http://www.amazon.com/s/ref=sr_il_ti_merchant-             A3A3D14N2YLCVF
      items?lo=merchant-items&merchant=A3A3D14N2YLCVF                                      Zhanwang17
305   http://www.amazon.com/s/ref=sr_il_ti_merchant-             AHALWS1DFH6DZ
      items?lo=merchant-items&merchant=AHALWS1DFH6DZ                                       Zhongde
306   http://www.amazon.com/s?me=AFFAGL503IFNO                   AFFAGL503IFNO             Zhu Li Ya
307   http://myworld.ebay.com/acemotor2015/                      acemotor2015              acemotor2015
308   http://myworld.ebay.com/adeledress                         adeledress                adeledress
309   http://www.amazon.com/s/ref=sr_il_ti_merchant-             A1DPIX7OSW9IGC
      items?lo=merchant-items&merchant=A1DPIX7OSW9IGC                                      aewghr5848
310   http://myworld.ebay.com/againstart/                        againstart                againstart
311   http://myworld.ebay.com/air1988/                           air1988                   air1988
312   https://www.airydress.com/                                 airydress.com             N/A
313   http://www.alburhaniyat.com/                               alburhaniyat.com          N/A
314   http://www.allgown.com/                                    allgown.com               N/A
315   http://myworld.ebay.com/angelsbep/                         angelsbep                 angelsbep
316   https://www.wish.com/merchant/anshareshop                  anshareshop               57984cbd8039906ac0b1208c
317   https://www.bonanza.com/booths/askmllc                     askmllc                   askmllc
318   http://attireify.co.uk/                                    attireify.co.uk           N/A
319   http://myworld.ebay.com/ausupermall/                       ausupermall               ausupermall
320   http://www.balklanningaronline.net/                        balklanningaronline.net   N/A
321   http://myworld.ebay.com/bao_hang/                          bao_hang                  bao_hang
322   https://www.wish.com/merchant/baoamai                      baoamai                   5770fdf3bd6b1873f7171b91
323   https://www.luulla.com/store/beautifuldress                beautiful dress6          beautiful dress6
324   https://www.wish.com/merchant/beautifulyanyan              beautiful yanyan          58cf58ce411d8c5b1b23d250
325   http://myworld.ebay.com/beautiful*dress/                   beautiful*dress           beautiful*dress
326   http://www.amazon.com/s/ref=sr_il_ti_merchant-             A25PIPJNTIJ4KR
      items?lo=merchant-items&merchant=A25PIPJNTIJ4KR                                      beauty bridal
327   https://www.wish.com/merchant/beautyart                    beautyart                 549d0e50b9b7e7182c48efe6
328   http://www.amazon.com/s/ref=sr_il_ti_merchant-             A3VBXU1FORFHVP
      items?lo=merchant-items&merchant=A3VBXU1FORFHVP                                      beautyfine
329   https://www.luulla.com/store/bestdresstrade                bestdresstrade            bestdresstrade
330   https://storenvy.com/stores/1112985-bestdresstrade1002     bestdresstrade1002        bestdresstrade1002
331   https://www.wish.com/merchant/shenzhenfinejofashioncoltd   bestwsih4u                53e4bb20ff4d6d1b68bdb6d1
332   https://storenvy.com/stores/1148892-better4u               better4u                  better4u
333   https://www.wish.com/merchant/bigworldgoo                  bigworldgoo               58bff71e26479e586981275e
334   https://www.wish.com/merchant/bnnxiowow556                 bnnxiowow556              5abb801ec9894975b885c45b
335   http://bohemiabrides.com/                                  bohemiabrides.com         N/A
336   https://www.bonanza.com/booths/bonzuser_lykvd              bonzuser_lykvd            bonzuser_lykvd
337   https://www.wish.com/merchant/boutique_fashion             boutique_fashion          562f8afe131ed117c44e0097
338   http://myworld.ebay.com/boypan2011/                        boypan2011                boypan2011
339   https://bridaloutletlondon.com/                            bridaloutletlondon.com    N/A
340   http://www.bridalpurchase.com/                             bridalpurchase.com        N/A
341   http://www.bridalshopalberta.com/                          bridalshopalberta.com     N/A
342   http://www.bridalshopbristol.com/                          bridalshopbristol.com     N/A
343   http://www.bridalshopcalgary.com/                          bridalshopcalgary.com     N/A
344   http://www.bridalshopcork.com/                             bridalshopcork.com        N/A
345   http://www.bridalshopedmonton.com/                         bridalshopedmonton.com    N/A
346   http://www.bridalshopessex.com/                            bridalshopessex.com       N/A
347   http://www.bridalshopgalway.com/                           bridalshopgalway.com      N/A
348   http://www.bridalshopglasgow.com/                          bridalshopglasgow.com     N/A
349   http://www.bridalshophawaii.com/                           bridalshophawaii.com      N/A
350   http://www.bridalshopkentucky.com/                         bridalshopkentucky.com    N/A
351   http://www.bridalshopmaryland.com/                         bridalshopmaryland.com    N/A
352   http://www.bridalshopmontreal.com/                         bridalshopmontreal.com    N/A
353   http://www.bridalshopnewyork.com/                          bridalshopnewyork.com     N/A
354   http://www.bridalshopontario.com/                          bridalshopontario.com     N/A
355   http://www.bridalshopottawa.com/                           bridalshopottawa.com      N/A
356   http://www.bridalshopquebec.com/                           bridalshopquebec.com      N/A
357   http://www.bridalshoptoronto.com/                          bridalshoptoronto.com     N/A
358   http://myworld.ebay.com/buyinbox/                          buyinbox                  buyinbox
359   http://myworld.ebay.com/cafase88/                          cafase88                  cafase88
360   http://myworld.ebay.com/cake-team                          cake-team                 cake-team
361   https://www.wish.com/merchant/caoruxia                     caoruxia                  58832a557d0cd84ca1b99fb0
362   https://www.wish.com/merchant/cc嘻哈小铺                       cc嘻哈小铺                    56ee21afec7099588291709b
363   http://myworld.ebay.com/cd-weddingdress                    cd-weddingdress           cd-weddingdress
364   http://myworld.ebay.com/cecileliu1990_7/                   cecileliu1990_7           cecileliu1990_7
365   http://www.centdress.org/                                  centdress.org             N/A
366   http://myworld.ebay.com/champion_28/                       champion_28               champion_28
367   http://myworld.ebay.com/changshengshop                     changshengshop            changshengshop
368   http://myworld.ebay.com/charmingbridal                     charmingbridal            charmingbridal
369   http://myworld.ebay.com/che6612/                           che6612                   che6612
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370   http://www.amazon.com/s/ref=sr_il_ti_merchant-            ANOHKS3VLDU0I
      items?lo=merchant-items&merchant=ANOHKS3VLDU0I                                                chenxuanamam
371   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A38WARSK5MEOR4
      items?lo=merchant-items&merchant=A38WARSK5MEOR4                                               chu gu
372   http://myworld.ebay.com/clothing-9988/                    clothing-9988                       clothing-9988
373   https://www.luulla.com/store/comigo                       comigo                              comigo
374   http://myworld.ebay.com/coobuy                            coobuy                              coobuy
375   http://www.cover4weddings.co/                             cover4weddings.co                   N/A
376   http://myworld.ebay.com/crystal.dress168/                 crystal.dress168                    crystal.dress168
377   http://myworld.ebay.com/crystal_dresses                   crystal_dresses                     crystal_dresses
378   https://www.bonanza.com/booths/cshlxr                     cshlxr                              cshlxr
379   https://www.wish.com/merchant/cutecutie                   cutecutie                           59e5b9356ea4a74a2b0fbe74
380   https://www.wish.com/merchant/denglijuan                  denglijuan                          58ef515a2303a8128cd15ec7
381   http://myworld.ebay.com/deppbridal/                       deppbridal                          deppbridal
382   https://www.wish.com/merchant/dhyyouth0117                dhyyouth0117                        5a0da0ea9fbc514fefba9de4
383   https://www.wish.com/merchant/店小爱40c28c9e57a111e6a3ef06
      9c59f6f9a9                                                dianxiaoai                          579ed15cd5f3850f62cc18a5
384   https://www.wish.com/merchant/shu                         donghai                             534e5543796f6856bde6cd4d
385   http://myworld.ebay.com/dream201461                       dream201461                         dream201461
386   https://www.luulla.com/store/dreamybridal                 dreamybridal                        dreamybridal
387   http://dress-factoryoutlet.ecrater.co.uk/                 dress-factoryoutlet.ecrater.co.uk   N/A
388   http://myworld.ebay.com/dress-queen/                      dress-queen                         dress-queen
389   http://myworld.ebay.com/dress.love-520/                   dress.love-520                      dress.love-520
390   http://myworld.ebay.com/dress4u2015/                      dress4u2015                         dress4u2015
391   http://www.dresses4australia.com.au/                      dresses4australia.com.au            N/A
392   http://www.dresseshop.co.uk/                              dresseshop.co.uk                    N/A
393   http://www.dressesim.net/                                 dressesim.net                       N/A
394   http://www.amazon.com/s/ref=sr_il_ti_merchant-            AQ4YSJI5XHAE9
      items?lo=merchant-items&merchant=AQ4YSJI5XHAE9                                                dressesonline
395   http://www.dressforquinces.com/                           dressforquinces.com                 N/A
396   http://www.dressmissy.com/                                dressmissy.com                      N/A
397   http://www.dressmm.com/                                   dressmm.com                         N/A
398   http://www.dresswe.com/                                   dresswe.com                         N/A
399   http://www.dressyparty.com/                               dressyparty.com                     N/A
400   http://myworld.ebay.com/duan7888/                         duan7888                            duan7888
401   http://myworld.ebay.com/efashionforu/                     efashionforu                        efashionforu
402   http://myworld.ebay.com/efashionstyle/                    efashionstyle                       efashionstyle
403   http://myworld.ebay.com/elegant*dress/                    elegant*dress                       elegant*dress
404   http://myworld.ebay.com/element_buy2016/                  element_buy2016                     element_buy2016
405   http://myworld.ebay.com/eliveyard/                        eliveyard                           eliveyard
406   http://myworld.ebay.com/engerladress/                     engerladress                        engerladress
407   http://myworld.ebay.com/enpod/                            enpod                               enpod
408   http://myworld.ebay.com/eternal_1989/                     eternal_1989                        eternal_1989
409   http://myworld.ebay.com/evening*dress                     evening*dress                       evening*dress
410   http://www.fairydressing.org/                             fairydressing.org                   N/A
411   https://www.wish.com/merchant/fashionlucyday              fashion lucy day                    56cf032edf108f20d99ff304
412   http://myworld.ebay.com/fashion20016/                     fashion20016                        fashion20016
413   http://myworld.ebay.com/fashion_2017dress/                fashion_2017dress                   fashion_2017dress
414   http://myworld.ebay.com/fashiondress168/                  fashiondress168                     fashiondress168
415   https://www.luulla.com/store/fashiongirl888               fashiongirl888                      fashiongirl888
416   http://myworld.ebay.com/fast-train-10889/                 fast-train-10889                    fast-train-10889
417   http://myworld.ebay.com/fdsdfgg2011/                      fdsdfgg2011                         fdsdfgg2011
418   http://myworld.ebay.com/felix-dresses/                    felix-dresses                       felix-dresses
419   https://www.wish.com/merchant/ficus_tang                  ficus_tang                          5ad40d0eaac71f2fa9942c12
420   http://myworld.ebay.com/firephenixshop/                   firephenixshop                      firephenixshop
421   http://www.amazon.com/s/ref=sr_il_ti_merchant-            A1WENPH3N834Q3
      items?lo=merchant-items&merchant=A1WENPH3N834Q3                                               firose668899
422   http://myworld.ebay.com/flame-shop                        flame-shop                          flame-shop
423   http://myworld.ebay.com/fljm7607/                         fljm7607                            fljm7607
424   https://www.wish.com/merchant/flowersmile                 flowersmile                         583fb60a2f5e5327342a395d
425   http://www.foeverdresses.com/                             foeverdresses.com                   N/A
426   http://www.formaldressaustralia.com/                      formaldressaustralia.com            N/A
427   https://www.wish.com/merchant/formaldressshops            formaldressshops                    58b1959c96f1bb13f3842178
428   http://www.formalgirldresses.com/                         formalgirldresses.com               N/A
429   http://www.formalpromdresses.cn/                          formalpromdresses.cn                N/A
430   http://myworld.ebay.com/fotloswind/                       fotloswind                          fotloswind
431   https://storenvy.com/stores/1141476-foundlove             foundlove                           foundlove
432   https://www.wish.com/merchant/frameworkfashion            frameworkfashion                    583bb3303b3ceb1b807e5e73
433   https://www.wish.com/merchant/frler_good                  frler_good                          582f0d74a6e3f06d981aba74
434   http://myworld.ebay.com/frler_world/                      frler_world                         frler_world
435   http://myworld.ebay.com/funiuleleyexu/                    funiuleleyexu                       funiuleleyexu
436   https://www.amazon.com/s/ref=sr_il_ti_merchant-           A1XFF73RF01B5K
      items?lo=merchant-items&merchant=A1XFF73RF01B5K                                               fuzhouqianlongdianqishebeiyouxiangongsi
437   https://www.gemsbride.com/                                gemsbride.com                       N/A
438   http://myworld.ebay.com/gfhgfjhjgjhg1/                    gfhgfjhjgjhg1                       gfhgfjhjgjhg1
439   https://www.wish.com/merchant/goaldeal                    goaldeal                            58bcfee8a78a1852a3073f64
440   https://www.wish.com/merchant/goldendealing               goldendealing                       591d2e95e22b54393f8e0c63
441   http://myworld.ebay.com/googleonline                      googleonline                        googleonline
442   https://www.wish.com/merchant/gooshelly                   gooshelly                           57a04a3e0f569936f0be1308
443   https://www.wish.com/merchant/gouwucraze                  gouwucraze                          5a29ffd95349202640256c42
444   https://www.wish.com/merchant/greatotop                   greatotop                           58b8df31ce883d527d21b89c
445   https://www.wish.com/merchant/guangzhouablewaycoltd       guangzhou ableway co.,ltd           5397f6e87179513e240ddd14
446   https://www.wish.com/merchant/广州品冠                        guangzhoupinguan                    54f8665fa0086e16eacebe1a
447   https://www.wish.com/merchant/guoyuhuadedian              guoyuhuadedian                      587d654e41fd8d684badf34d
448   https://www.wish.com/merchant/haapy_team                  haapy_team                          590af85c37da1721f8d8be77
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449   https://www.wish.com/merchant/hangzhoulanbailanfushiyouxiango
      ngsi                                                            hangzhoulanbailanfushiyouxiangongsi   hangzhoulanbailanfushiyouxiangongsi
450   http://myworld.ebay.com/hao1664/                                hao1664                               hao1664
451   http://myworld.ebay.com/happy_castle/                           happy_castle                          happy_castle
452   https://www.wish.com/merchant/happydoor66                       happydoor66                           54e76471ebaadc3a66282ba1
453   https://www.wish.com/merchant/hemnmn112839163com                hemnmn112839@163.com                  5846cb7468eb844d28e948e1
454   https://www.luulla.com/store/hiprom                             hiprom                                hiprom
455   http://myworld.ebay.com/hivepeeks                               hivepeeks                             hivepeeks
456   https://www.wish.com/merchant/hope668                           hope668                               59b9fd8f30e1f3045b6542db
457   https://www.bonanza.com/booths/hot_global_fashions              hot_global_fashions                   hot_global_fashions
458   http://myworld.ebay.com/hs.dress                                hs.dress                              hs.dress
459   http://myworld.ebay.com/huanghaipo2017                          huanghaipo2017                        huanghaipo2017
460   http://myworld.ebay.com/huforeverlife2014/                      huforeverlife2014                     huforeverlife2014
461   http://myworld.ebay.com/huifangzou/                             huifangzou                            huifangzou
462   https://www.wish.com/merchant/healthcareinternationalcoltd      i Like International Co.Ltd           558a449a85c59e67d74ce169
463   http://www.iabiti.it/                                           iabiti.it                             N/A
464   https://wanelo.co/store/icstuff                                 icstuff                               icstuff
465   https://www.luulla.com/store/Lavendelwedding                    ifGirl                                ifGirl
466   http://myworld.ebay.com/ilovewedding2015/                       ilovewedding2015                      ilovewedding2015
467   http://www.ingownsdress.com/                                    ingownsdress.com                      N/A
468   https://www.luulla.com/store/marknlucydress                     inlovedress                           inlovedress
469   https://www.wish.com/merchant/inmystore0214                     inmystore0214                         567255f8c74a7026b010907b
470   http://www.ipromstory.com/                                      ipromstory.com                        N/A
471   https://www.luulla.com/store/ivowedding                         ivo wedding shop                      ivo wedding shop
472   http://myworld.ebay.com/jeansame.dress                          jeansame.dress                        jeansame.dress
473   https://www.wish.com/merchant/jianglianyuan                     jianglianyuan                         58de348aba2c16535f4e6008
474   https://www.wish.com/merchant/简品生活                              jianpinshenghuo                       57cd00f6fe1f121f2c68a921
475   https://www.wish.com/merchant/jiayanhong123654                  jiayanhong123654                      587c78bc23553c4dfbdf1ca6
476   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  ALSY46QTYRQLA
      items?lo=merchant-items&merchant=ALSY46QTYRQLA                                                        jing.dress
477   http://myworld.ebay.com/jingjingzone                            jingjingzone                          jingjingzone
478   https://www.luulla.com/store/kemedress                          kemedress                             kemedress
479   https://www.wish.com/merchant/kimishops                         kimishops                             5a2924f9ffccf20ecfdd13f9
480   http://www.kissprom.co.uk/                                      kissprom.co.uk                        N/A
481   http://www.kissydress.co.uk/                                    kissydress.co.uk                      N/A
482   http://myworld.ebay.com/ktat                                    ktat                                  ktat
483   http://myworld.ebay.com/kuajingyun                              kuajingyun                            kuajingyun
484   http://myworld.ebay.com/kuokuostore                             kuokuostore                           kuokuostore
485   https://www.luulla.com/store/lacydress                          lacy dresses                          lacy dresses
486   https://www.wish.com/merchant/leaderstore                       leaderstore                           56821d325dc51726c49b065e
487   https://www.wish.com/merchant/greenmoss                         leafrain                              5a991c1b15511a598c81fbcc
488   http://myworld.ebay.com/ledpick/                                ledpick                               ledpick
489   http://myworld.ebay.com/leyunstore/                             leyunstore                            leyunstore
490   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  AHXAIK53RSIHJ
      items?lo=merchant-items&merchant=AHXAIK53RSIHJ                                                        liangjinsmkj
491   http://myworld.ebay.com/libresoy                                libresoy                              libresoy
492   http://myworld.ebay.com/lifehappyyday                           lifehappyyday                         lifehappyyday
493   https://www.wish.com/merchant/lilili                            lilili                                540e5d007f086e2737cabdaa
494   https://www.wish.com/merchant/liufen526                         liufen526                             5968dc256d138f2b83e8cd8f
495   http://myworld.ebay.com/liutingting888                          liutingting888                        liutingting888
496   https://www.wish.com/merchant/liuyanyong001                     liuyanyong001                         591478c3b57686304e45e752
497   http://myworld.ebay.com/liuyuan1010/                            liuyuan1010                           liuyuan1010
498   http://www.lookannonces.ca/                                     lookannonces.ca                       N/A
499   https://wanelo.co/store/lovebeautylove                          loveBeautylove                        loveBeautylove
500   https://www.wish.com/merchant/love_fashon                       love_fashion2015                      5413d79b4ad3ab746eee851d
501   http://myworld.ebay.com/lovelife5201010                         lovelife5201010                       lovelife5201010
502   http://myworld.ebay.com/lovestoryus                             lovestoryus                           lovestoryus
503   http://www.loveweddingdress.cc/                                 loveweddingdress.cc                   N/A
504   https://www.wish.com/merchant/luckysubo                         luckysubo                             56de41730be3ef129758bf3a
505   http://www.amazon.com/s/ref=sr_il_ti_merchant-                  A2FQWCUVHF4HO4
      items?lo=merchant-items&merchant=A2FQWCUVHF4HO4                                                       luokadress
506   https://www.wish.com/merchant/luqianliang                       luqianliang                           59313fb79818b3476b27b3bc
507   https://www.wish.com/merchant/luuxiangg                         luuxiangg                             58ddfdf46d7b2974d3a2868b
508   http://myworld.ebay.com/maelover66                              maelover66                            maelover66
509   http://myworld.ebay.com/manweisi/                               manweisi                              manweisi
510   http://www.marieaustralia.com/                                  marieaustralia.com                    N/A
511   http://www.marieprom.co.uk/                                     marieprom.co.uk                       N/A
512   https://www.wish.com/merchant/mashengli                         mashengli                             5887150b5d4d9108b6113308
513   https://www.mdresses.com/                                       mdresses.com                          N/A
514   http://www.meetpromdresses.com/                                 meetpromdresses.com                   N/A
515   https://www.wish.com/merchant/meixinfushiyouxiangongsi          meixinfushiyouxiangongsi              540e77b0c5c24645bcd5c47c
516   http://myworld.ebay.com/mengge2016/                             mengge2016                            mengge2016
517   https://www.wish.com/merchant/metopmall                         metop-mall                            5948ea587c64946a39693397
518   http://miaprom.com/                                             miaprom.com                           N/A
519   http://www.micwelldress.com/                                    micwelldress.com                      N/A
520   http://myworld.ebay.com/mike-li2013/                            mike-li2013                           mike-li2013
521   http://myworld.ebay.com/millian_dresses                         millian_dresses                       millian_dresses
522   http://www.millybridal.org/                                     millybridal.org                       N/A
523   http://www.minel.com.au/                                        minel.com.au                          N/A
524   https://www.missladies.com/                                     missladies.com                        N/A
525   http://www.missydress.ca/                                       missydress.ca                         N/A
526   http://www.mocodresses.com/                                     mocodresses.com                       N/A
527   https://storenvy.com/stores/907385-modsele                      modsele                               modsele
528   https://storenvy.com/stores/924905-modseleystore                modseleystore                         modseleystore
529   http://myworld.ebay.com/molibride/                              molibride                             molibride
530   https://www.luulla.com/store/mollybridal                        mollybridal                           mollybridal
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531   http://myworld.ebay.com/mona_lisa168li/                       mona_lisa168li              mona_lisa168li
532   https://www.luulla.com/store/monicadresses                    monicadresses               monicadresses
533   http://www.amazon.com/s/ref=sr_il_ti_merchant-                A365MD93GFW800
      items?lo=merchant-items&merchant=A365MD93GFW800                                           nancy chen
534   https://www.wish.com/merchant/南派小媚娘                           nanpaixiaomeiniang          56dbdd3322709d0169af5d72
535   http://www.nbweddingdress.com/                                nbweddingdress.com          N/A
536   https://www.wish.com/merchant/nenescloset202                  nenescloset202              58b1917d96f1bb13f7841b77
537   https://www.wish.com/merchant/newfashiondresses               new fashion dresses         56fce791138ef70d66b4b010
538   http://myworld.ebay.com/new-deve/                             new-deve                    new-deve
539   http://www.newarrivaldress.com/                               newarrivaldress.com         N/A
540   https://www.luulla.com/store/dresses                          niftydresses                niftydresses
541   https://www.wish.com/merchant/nihuhu                          nihuhu                      587f2920f1f65d18cdae1aaa
542   https://www.wish.com/merchant/nikesi23                        nikesi23                    577f59539035dc176dbd1d01
543   http://myworld.ebay.com/nimodream                             nimodream                   nimodream
544   https://www.wish.com/merchant/nongbo187                       nongbo187                   58ca0ae2d3795151121b41a6
545   https://www.wish.com/merchant/notsosimpleraggdolldesign       notsosimpleraggdolldesign   5a446204471c1404859b652d
546   http://www.nsbridaldresses.com/                               nsbridaldresses.com         N/A
547   http://myworld.ebay.com/ochirchic/                            ochirchic                   ochirchic
548   http://myworld.ebay.com/ochirking                             ochirking                   ochirking
549   http://myworld.ebay.com/ochirlady/                            ochirlady                   ochirlady
550   http://myworld.ebay.com/offermeworld0_6                       offermeworld0_6             offermeworld0_6
551   https://www.luulla.com/store/okbridal                         okbridal                    okbridal
552   https://www.luulla.com/store/okbridaldress                    okbridaldress               okbridaldress
553   https://www.luulla.com/store/okdressesy                       okdressesy                  okdressesy
554   http://www.okmi.it/                                           okmi.it                     N/A
555   http://myworld.ebay.com/okstrading/                           okstrading                  okstrading
556   https://storenvy.com/stores/738330-olesa-wedding-shop         olesa wedding shop          olesa wedding shop
557   https://www.luulla.com/store/olesawedding                     olesawedding                olesawedding
558   http://www.amazon.com/s/ref=sr_il_ti_merchant-                A25BBMJ1AKI9DV
      items?lo=merchant-items&merchant=A25BBMJ1AKI9DV                                           olise bridal
559   https://www.bonanza.com/booths/orchid_dress                   orchid_dress' booth         orchid_dress' booth
560   http://myworld.ebay.com/orchid_dress2018/                     orchid_dress2018            orchid_dress2018
561   http://myworld.ebay.com/ourlove-18                            ourlove-18                  ourlove-18
562   https://www.wish.com/merchant/pangyuxiu                       pangyuxiu                   56ded43ea8b39f169b20136e
563   https://www.partyandweddingfavors.com/                        partyandweddingfavors.com   N/A
564   https://www.wish.com/merchant/partydressd89ce7acc03911e6bfb
      206da0be1a17e                                                 partydress                  584e4d08955ab14d31ee3e25
565   http://www.amazon.com/s/ref=sr_il_ti_merchant-                A3UWRCNO65H9O1
      items?lo=merchant-items&merchant=A3UWRCNO65H9O1                                           passat custom dress
566   http://www.persunit.com/                                      persunit.com                N/A
567   http://myworld.ebay.com/petero.store/                         petero.store                petero.store
568   http://myworld.ebay.com/plum2017676/                          plum2017676                 plum2017676
569   http://www.plussizedresses.co/                                plussizedresses.co          N/A
570   http://myworld.ebay.com/pretty.wedding                        pretty.wedding              pretty.wedding
571   http://myworld.ebay.com/princess-dress999/                    princess-dress999           princess-dress999
572   http://myworld.ebay.com/princess-new-dress/                   princess-new-dress          princess-new-dress
573   https://www.amazon.com/s/ref=sr_il_ti_merchant-               A32P67KR9OC9IT
      items?lo=merchant-items&merchant=A32P67KR9OC9IT                                           profession
574   http://www.promdressdesigner.com/                             promdressdesigner.com       N/A
575   http://myworld.ebay.com/promdresssales/                       promdresssales              promdresssales
576   https://www.promwill.com/                                     promwill.com                N/A
577   https://www.wish.com/merchant/pugongy                         pugongy                     58088628d1333319810574e4
578   http://myworld.ebay.com/qc-shop                               qc-shop                     qc-shop
579   http://myworld.ebay.com/qiaohuili-0/                          qiaohuili-0                 qiaohuili-0
580   http://myworld.ebay.com/qilang3000-7/                         qilang3000-7                qilang3000-7
581   https://www.wish.com/merchant/qq888                           qq888                       582949b4fef40931187c4308
582   http://www.queeniebridesmaid.co.uk/                           queeniebridesmaid.co.uk     N/A
583   http://www.queenieprom.co.uk/                                 queenieprom.co.uk           N/A
584   http://www.quinceaneradresscity.com/                          quinceaneradresscity.com    N/A
585   http://www.quinceaneragown.org/                               quinceaneragown.org         N/A
586   http://www.quinceaneramart.com/                               quinceaneramart.com         N/A
587   https://www.wish.com/merchant/result888                       result888                   5a584ad29d0a7b5f82122baf
588   http://www.robedumariage.eu/                                  robedumariage.eu            N/A
589   http://www.robeenfolie.com/                                   robeenfolie.com             N/A
590   https://www.robeyou.com/                                      robeyou.com                 N/A
591   https://www.wish.com/merchant/53ec665b1f506316ee39dce4        romanticdress               53ec665b1f506316ee39dce4
592   http://www.rongsenzhiai.com/                                  rongsenzhiai.com            N/A
593   http://www.rosanovias.ca/                                     rosanovias.ca               N/A
594   http://myworld.ebay.com/salamoeri2015/                        salamoeri2015               salamoeri2015
595   https://www.wish.com/merchant/saradresses                     saradresses                 54be0f2fdacf6f44487846f5
596   http://myworld.ebay.com/sarayifine/                           sarayifine                  sarayifine
597   http://myworld.ebay.com/savingurbill                          savingurbill                savingurbill
598   http://myworld.ebay.com/sc_weddingdress                       sc_weddingdress             sc_weddingdress
599   http://www.schickeabendkleider.de/                            schickeabendkleider.de      N/A
600   http://www.amazon.com/s/ref=sr_il_ti_merchant-                A1SHH0LC2B359U
      items?lo=merchant-items&merchant=A1SHH0LC2B359U                                           seamount
601   http://myworld.ebay.com/sexy-goddess69/                       sexy-goddess69              sexy-goddess69
602   http://myworld.ebay.com/sexy.goddess.0820/                    sexy.goddess.0820           sexy.goddess.0820
603   https://www.luulla.com/store/sexyprom                         sexyprom                    sexyprom
604   http://myworld.ebay.com/shala2058/                            shala2058                   shala2058
605   https://www.wish.com/merchant/sharenice                       sharenice                   5963019ae81e8a21a5119121
606   https://www.wish.com/merchant/shegnxiguanl                    shegnxiguanl                5b2b0c04eae8b41488a5596b
607   http://myworld.ebay.com/shiguang.dress666/                    shiguang.dress666           shiguang.dress666
608   https://www.wish.com/merchant/shishangnanren                  shishangnanren              5882ecd7a451336de013989d
609   https://www.wish.com/merchant/shisifang                       shisifang                   55667a5741ab5d20464d1156
610   http://myworld.ebay.com/shoppingonline2008/                   shoppingonline2008          shoppingonline2008
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612   http://myworld.ebay.com/shrosy2010/                            shrosy2010                       shrosy2010
613   http://myworld.ebay.com/shwstqj/                               shwstqj                          shwstqj
614   http://myworld.ebay.com/sijiang888/                            sijiang888                       sijiang888
615   http://myworld.ebay.com/simplefashion2015/                     simplefashion2015                simplefashion2015
616   https://www.wish.com/merchant/widgetmakerinternationalcomput
      er                                                             slender zhou                     5443d0434ad3ab5afc9c5441
617   http://myworld.ebay.com/smily-1996                             smily-1996                       smily-1996
618   http://myworld.ebay.com/sndress/                               sndress                          sndress
619   https://www.wish.com/merchant/snowqueen                        snow queen                       56d4137c0375a015f3bd0971
620   http://www.sofiehouse.co/                                      sofiehouse.co                    N/A
621   http://sogown.com/                                             sogown.com                       N/A
622   https://www.wish.com/merchant/songchong                        songchong                        59b63cfe90a0f1724fb0fc7b
623   http://myworld.ebay.com/songdd2009/                            songdd2009                       songdd2009
624   https://www.stacees.co.uk/                                     stacees.co.uk                    N/A
625   http://myworld.ebay.com/stimulus-dress/                        stimulus-dress                   stimulus-dress
626   https://www.amazon.com/s/ref=sr_il_ti_merchant-                A1RR24HXT7N0QK
      items?lo=merchant-items&merchant=A1RR24HXT7N0QK                                                 stylefun
627   https://www.bonanza.com/booths/sunnytian1988                   sunnytian1988                    sunnytian1988
628   http://myworld.ebay.com/sunshine_weddingdress                  sunshine_weddingdress            sunshine_weddingdress
629   http://myworld.ebay.com/supertop1112015/                       supertop1112015                  supertop1112015
630   https://www.amazon.com/s/ref=sr_il_ti_merchant-                AJ5V5GOEX87HZ
      items?lo=merchant-items&merchant=AJ5V5GOEX87HZ                                                  suzhou titi wedding dress
631   http://myworld.ebay.com/suzhou.dress                           suzhou.dress                     suzhou.dress
632   http://www.suzhoubridal.com/                                   suzhoubridal.com                 N/A
633
      https://www.wish.com/merchant/suzhouyannanfushiyouxiangongsi   suzhouyannanfushiyouxiangongsi   541c20d5f8abc8150dbc0588
634   http://myworld.ebay.com/swallows-18                            swallows-18                      swallows-18
635   https://www.wish.com/merchant/sweekyhouse                      sweekyhouse                      593935af1298194a7f4f0550
636   http://myworld.ebay.com/sweetheart*dress/                      sweetheart*dress                 sweetheart*dress
637   http://www.thebridal.org/                                      thebridal.org                    N/A
638   http://www.thecelebritydresses.us/                             thecelebritydresses.us           N/A
639   https://www.thezeinadiary.com/                                 thezeinadiary.com                N/A
640   http://myworld.ebay.com/tongshangyuan/                         tongshangyuan                    tongshangyuan
641   https://www.wish.com/merchant/tongyuanxiaowu                   tongyuanxiaowu                   5940a4b3e81e8a63585ce2a9
642   https://www.wish.com/merchant/top1store_jiang                  top1store_Jiang                  5823d8ade18c0f20ae16d424
643   http://myworld.ebay.com/topelectronics2010                     topelectronics2010               topelectronics2010
644   http://www.topquinceaneradresses.com/                          topquinceaneradresses.com        N/A
645   https://www.luulla.com/store/topsale1000                       topsale1000                      topsale1000
646   http://myworld.ebay.com/topshow-99                             topshow-99                       topshow-99
647   http://www.trendproms.com/                                     trendproms.com                   N/A
648   http://www.udressme.co.nz/                                     udressme.co.nz                   N/A
649   http://uk.millybridal.org/                                     uk.millybridal.org               N/A
650   http://myworld.ebay.com/unicomidea                             unicomidea                       unicomidea
651   http://www.uniqbridal.com/                                     uniqbridal.com                   N/A
652   https://www.veradress.co.uk/                                   veradress.co.uk                  N/A
653   http://myworld.ebay.com/vernassa2015/                          vernassa2015                     vernassa2015
654   http://myworld.ebay.com/victor-mall                            victor-mall                      victor-mall
655   http://myworld.ebay.com/vipdress/                              vipdress                         vipdress
656   http://myworld.ebay.com/wangli3692012/                         wangli3692012                    wangli3692012
657   https://www.wish.com/merchant/wecan                            wecan                            54f7e22dcffbbb3c5946a597
658   https://www.wish.com/merchant/weddingbaifenbai                 wedding baifenbai                5475245390c776556a3b72ac
659   https://www.luulla.com/store/weddinggowns                      wedding dresses                  wedding dresses
660   http://myworld.ebay.com/wedding.factory                        wedding.factory                  wedding.factory
661   http://www.amazon.com/s?me=A267GU38TEXPBX                      A267GU38TEXPBX                   wedding.gowns
662   http://myworld.ebay.com/weddingdress_home                      weddingdress_home                weddingdress_home
663   http://www.weddingdressforsale.top/                            weddingdressforsale.top          N/A
664   http://weddingdresslove.top/                                   weddingdresslove.top             N/A
665   http://www.weddingsales.cn/                                    weddingsales.cn                  N/A
666   http://weddirect.co/                                           weddirect.co                     N/A
667   http://myworld.ebay.com/wendycloth/                            wendycloth                       wendycloth
668   http://myworld.ebay.com/wifedress/                             wifedress                        wifedress
669   http://www.winniedress.com/                                    winniedress.com                  N/A
670   https://www.wish.com/merchant/wmenplussize                     wmen plussize                    5a2f4a7d12fa1c097e3df207
671   http://myworld.ebay.com/woaibaoma520                           woaibaoma520                     woaibaoma520
672   https://www.luulla.com/store/wowodress                         wowdress                         wowdress
673   https://www.wish.com/merchant/wuguoxing                        wuguoxing                        58009680577f4b5ad6800f0a
674   http://www.xdresses.com/                                       xdresses.com                     N/A
675   http://myworld.ebay.com/xiangqimaster8-0                       xiangqimaster8-0                 xiangqimaster8-0
676   http://myworld.ebay.com/xiaomenghanlu                          xiaomenghanlu                    xiaomenghanlu
677   http://myworld.ebay.com/xyx-weddingdress                       xyx-weddingdress                 xyx-weddingdress
678   https://www.ycdress.com/                                       ycdress.com                      N/A
679   https://www.wish.com/merchant/ydress                           ydress                           538a00ceab980a46e9a0de9f
680   https://www.wish.com/merchant/yilianzhijia                     yilianzhijia                     550b3f89b9cb3b04677e01bb
681   https://www.wish.com/merchant/一木商贸                             yimushangmao                     54abaad44274a2031d9744ac
682   https://www.wish.com/merchant/yingbeiernannvzhuang             yingbeiernannvzhuang             5621aca865bf301c5a7bbca1
683   https://www.wish.com/merchant/yinyin                           yinyin                           58534f7c79b45e0b52ad2aa3
684   http://www.amazon.com/s/ref=sr_il_ti_merchant-                 A3DYHTW85Z9WFR
      items?lo=merchant-items&merchant=A3DYHTW85Z9WFR                                                 yizitianshe
685   http://myworld.ebay.com/yuanminqi/                             yuanminqi                        yuanminqi
686   https://www.wish.com/merchant/yujianxing                       yujianxing                       5aa2651bc7981742a4037f8a
687   https://www.wish.com/merchant/yunchao                          yunchao                          5796e4f5ca8e8202f059ca15
688   http://myworld.ebay.com/yxyshopping/                           yxyshopping                      yxyshopping
689   https://www.wish.com/merchant/zgszyouth0114                    zgszyouth0114                    59f29adf471c145141c70d53
690   https://www.wish.com/merchant/zhangdongmei652                  zhangdongmei652                  5a9aa225aac71f3794647b99
691   https://www.wish.com/merchant/zhangshihao157                   zhangshihao157                   5a6dc8ffe2b88b1b7355c2d5
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693   https://www.wish.com/merchant/zhangxinying        zhangxinying       58834e33401e874cc83ace9a
694   https://www.wish.com/merchant/zhangyuemei         zhangyuemei        5aa12bfa1baafe3f51b6721e
695   https://www.wish.com/merchant/zhaoshengguo123     zhaoshengguo123    5acf06cd6be873757c8a4878
696   http://myworld.ebay.com/zhaoxinwei7788_3/         zhaoxinwei7788_3   zhaoxinwei7788_3
697   https://www.wish.com/merchant/zhenglei            zhenglei           58a684cc76ac185704f218f5
698   https://www.wish.com/merchant/zhongf2021802       zhongf2021802      5744159f5fd27f594880fd60
699   https://www.amazon.com/s/ref=sr_il_ti_merchant-   A18DFGULVC1SI5
      items?lo=merchant-items&merchant=A18DFGULVC1SI5                      zhongjianbeifangjituan
700   https://www.wish.com/merchant/zl1997              zl1997             5b8f862169eb4e1d92d407f2
701   https://www.wish.com/merchant/zlass               zlass              5325dab45aefb0103771bf74
702   http://myworld.ebay.com/zp-dress                  zp-dress           zp-dress
703   https://www.wish.com/merchant/佐佐木的店               佐佐木的店              57946102fa5cec2d143d26b5
704   https://www.wish.com/merchant/王诗恩                 王诗恩                5489b7553471912cd5a804bb
705   https://www.wish.com/merchant/睿鑫贸易有限公司            睿鑫贸易有限公司           549bf542b9cb92183ed9f5dc
